

Matter of Mayci W. (Daniel W.) (2019 NY Slip Op 04588)





Matter of Mayci W. (Daniel W.)


2019 NY Slip Op 04588


Decided on June 7, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on June 7, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., PERADOTTO, DEJOSEPH, CURRAN, AND WINSLOW, JJ.


608 CAF 18-00190

[*1]IN THE MATTER OF MAYCI W. ERIE COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; DANIEL W., RESPONDENT-APPELLANT. (APPEAL NO. 2.)






CHARLES J. GREENBERG, AMHERST, FOR RESPONDENT-APPELLANT.
NICHOLAS G. LOCICERO, BUFFALO, FOR PETITIONER-RESPONDENT. 
MARY ANNE CONNELL, BUFFALO, ATTORNEY FOR THE CHILD.


	Appeal from an order of the Family Court, Erie County (Sharon M. LoVallo, J.), entered January 17, 2018 in a proceeding pursuant to Social Services Law § 384-b. The order, among other things, terminated the parental rights of respondent with respect to the subject child. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Entered: June 7, 2019
Mark W. Bennett
Clerk of the Court








